Case 2:03-cr-20323-BBD Document 49 Filed 05/03/05 Page 1 of 3 Page|D 50

IN THE UNITED STATES DISTRICT COURT FH_EQ U_f. %)/h(`
FOR THE WESTERN DISTRICT OF TENNESSEE 1 ' J' "'

 

 

WESTERN DIvIsIoN 35 F;.§H',!, _3 m 52 20
UNITED sTATEs oF AMERICA ) o
)
Piainu'fr, )
) Q?' QOJ.»B
VS ) CR No. 93-2@%92-1)
)
DURRELL MACKEY )
)
Defendant. )

 

ORDER TO SURRENDER

 

The defendant, Durrell Mackey, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis
SCP, 1101 John A. Denie Rd., Memphis, Tennessee 38134 by 2:00 p.m. on TUESDAY, MAY 31,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oftice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this rhe$i day of May, 2005.

 

U TED STATES DISTRICT JUDGE

et sheet in compliance

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Wlth Flule 55 and/or 32(b) FHGrP on

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CR-20323 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

